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JURY TRIAL DEMANDED
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COMPLAINT GLEE. 3 CrelcT equm
I. PARTIES 1 ° C LGV dll omceesiicac

1. Plantiff Lyndon Lueders is a US Citizen. P.O. Box 388 Smithville, Tx 78957

  

2. Donald J Trump 1100 S Ocean Blvd, Palm Beach, FL 33480, United States

3. Defendant Joseph R Biden 1600 Pennsylvania Ave NW Washington, DC 20500

4. Defendant Unknown Agents or Contractors of www.Whitehouse.gov 1600
Pennsylvania Ave NW Washington DC 20500

5. Defendant Unknown Agents Whitehouse 1600 Pennsylvania Ave NW Washington,

DC 20500

6. Defendant Unknown Agents Department of Justice 950 Pennsylvania Ave., NW
Washington, DC 20530.
7. Defendant Unknown Agents of the Federal Bureau of Investigations 935 Pennsylvania

Ave., NW Washington, DC 20535

ll. NOTIFICATION TO FEDERAL BENCH 18 US Code 2382

8. Misprision of Treason 18 US Code 2382. Whoever, owing allegiance to the United
States and having knowledge of the commission of any treason against them, conceals
and does not, as soon as may be, disclose and make known the same to the President
or to some judge of the United States, or to the governor or to some judge or justice of a
particular state, is guilty of misprision of treason and shall be fined under this title or

imprisoned not more than seven years, or both.

9. Misprision (noun): the deliberate concealment of one’s knowledge of a treasonable act
or a felony.

10. My name is Lyndon Lueders. | am an honorably retired Senior Austin Police Officer,
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as well as a licensed private investigator in the State of Texas.

The “We the People” petition asking for a Presidential pardon for Ryan Dark White (Jon
McGreevey) that was electronically tampered with, and is at the center of this action, was
also an attempt to notify the President, Donald J. Trump, of treason and conspiracy
against the government of the United States, as required by 18 US Code 2382. Simply

put, it was a professional work product by a licensed investigator.

11. As required by my oath, and to comply with the law, | am respectfully notifying the
Western District Bench Judge/Judges as required by 18 US Code 2382. Attached please
find Exhibit ‘A’, an interview with Ryan D. White, a.k.a. Jon McGreevey, dated January 9,

2021.

L. LIN WOOD, P.C.

P.O, Box 52584

Atlanta, GA 30355-0584
Telephone: (404) 891-1402
Facsimile: (404) 506-9111

Lin Wood is the Attorney of Record for Jon McGreevey.

12. Contained in Exhibit “A” : Treason, violations of the Geneva Convention, crimes
against children, sedition regarding Chief Justice John Roberts, Judge Emmet Sullivan,
and the murder of former Justice of the Supreme Court Antonin Scalia.

13. | would proffer to the Court that all parties and agencies, served in conjunction with
this Bivens suit have also been notified and must comply with 18 US Code 2382. The

agencies/individuals are acting under Color of Law, regardless of any decisions related to

the civil case being presented. | am both a first and third party informant.

 

 
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lll. Notification to President Donald J Trump 18 US Code 2382

“Speak TRUTH. Every lie will be revealed. Be fearless.” —L. Lin Wood

14. The law, 18 US Code 2382, does not specify the manner in which the notification of
Treason must be made. As required by my Oath, | respectfully ask that you consider
this my report/notification of information concerning the commission of Treason,
conspiracy to commit treason, murder in the commission of Treason, and violations of
the Geneva Convention in:

15. Attached Exhibit “A”: An interview with Ryan Dark White (Jon McGreevy), dated
January 9, 2021.

L. LIN WOOD, PC.
P.O. Box 52584

Atlanta, GA 30355-0584
Telephone: (404) 897-1402
Facsimile: (404) 506-9111

Lin Wood is the Attorney of Record for Jon McGreevey.

16. Some of these acts were committed by members of Federal Bureau of
Investigations, as well as the Department of Justice. These are the very agencies to
whom we are required to report the crimes documented in the attached deposition, and
the electronic tampering with the petition (critical infrastructure).

17. Those reports were repeatedly made, documented, and ignored. This is disparate
treatment from what Lt. Colone! Alexander Vindman received as a third party
whistleblower, and is a violation of my First, Fifth, and Fourteenth Amendment Rights.
18. The tampering with the Whitehouse Petition (18 US Code 2382 notification) appears
to be further retaliation against Federal Whistleblower known as Ryan Dark White (Jon
McGreevey), which would meet the elements of USC 1512 (Tampering with an

Informant) and Misprision of Treason.

 

 
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19. If two or more individuals coordinated to retaliate, or deprive Mr. McGreevey and his
supporters of their first amendment right to petition, that would meet the elements of Title

18 USC 241 (Conspiracy Against Rights).

IV. Notification to Joseph R. Biden and the Whitehouse: 18 US Code 2382

Fraud Vitiates Everything - United States vs Throckmorton

20. As required by law (18 US Code 2382 notification) , | am notifying you of the
deposition: Attached Exhibit “A”: An interview with Ryan D. White (Jon McGreevey) dated

January 9, 2021.
L. LIN WOOD, P.C.

P.O, Box 52584

Atlanta, GA 30355-0584
Telephone: (404) 891-1402
Facsimile: (404) 506-9111

Lin Wood is the Attorney of Record for Jon McGreevey.

21. This deposition contains information about Treason, Sedition, crimes against
children, and violations of the Geneva Convention. These crimes involve you and

members of your current administration.

22. The unexplained removal of the "We the People” petition site on January 20th was

spoliation of evidence. You have been notified.

V. Facts of the Case

“What a beautiful black sky” - General Michael Flynn

23, | created a Petition on December 08, 2026 on the Whitehouse.GOV website for a

 
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well-vetted Federal Whistleblower identified on the public utility Twitter as

@Johnheretohelp (a.k.a. Ryan 0. White).

24. The Petition was to run for 30 days, and 100,000 signatures would ‘require’ a
response from the Whitehouse. The terms on the (now removed) website stated that a
review of a petition could potentially happen at any time, without having met the 100,000
signature threshold.

25. The petition information was shared and viewed hundreds of thousands of times on
several social media sites, with minimal results numerically reflected in the petition count.
Mr. White had more than 70,000 ‘followers’ on Twitter at that time, pilus untold numbers of
supporters actively promoting the petition. We watched and documented as the
numbers on the “petition count” literally went backwards. Many of Mr. White's supporters

also reported that they were unable to sign the petition.

26, My First Amendment right to petition on the Official Whitehouse site was infringed
upon in a fraudulent manner. Those who signed, or attempted to sign, had their
Constitutional right to petition violated as well. Our first amendment right to petition is a
very well-established right. The text of the petition is below:

+++
Created by L.L. on December 08, 2020

We the People respectfully petition President Donald J Trump to grant an immediate, and Full, Pardon
for the

Patriot Whistleblower identified as @johnheretohelp on the Public Utility Twitter.

‘John’ has provided information, and assistance, critical to the National Security/Defense of the United
States,

information concerning the Coup attempt against both President Trump and General Fiynn,
Recordings, documentation, and information that is being used in both Civil, and Criminal courts (Nat
Sec),

As well as information related to the murder of NASA scientist Molly Macauley who was killed for
discovering satellites being used in election fraud.

‘John' was threatened, tortured, and coerced for the protection of his family to violate our laws,

For the sake of Justice, we ask for a Full Pardon.

ttt

 
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27, On 12/14/2020 | personally notified the following agencies:

NSAjCSS

Department of Justice, Civil Rights Division (Record number 42398-NDkK)
DOJAG

IC3/FBI

CISA

THE WHITE HOUSE

28. The following is the text of my email to President Trump, added to the reports for
further clarification:

+++

President Trump,

My name is Lyndon Lueders. | am a Retired Sr. Austin Police Officer, and Private
investigator. | started a We the People petition requesting a Full/Immediate pardon from
you, the President, for the Patriot Whistleblower identified as @johnheretohelp (On Public
Utility Twitter}. This Petition is on the White House .GOV account/servers.

‘John' has been a whistleblower for years, and has been tortured/coerced by the same
individuals involved in the Coup attempt against you, and the Republic.

In the Petition | have listed about 'John' having information on the Murder of NASA
Scientest Molly Macauley. This was ‘John's friend and co-worker. According to Johns
Outcry she was murdered for discovering satellites were being used in Election Fraud.
There is evidence, and complaints, from Patriots trying to sign the petition.

They are not allowed fo sign.

This is interfering with their Right to effectively Petition their Government in very serious,
National Security matters.

They also have reported seeing the numbers moving backwards on the signature count.

 
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Johns fundraiser was tampered with in a similar fashion which led to a block being
placed upon my personal account when | attempted to donate.

| respectfully ask you to preserve the Data related to this petition by We the People, and
determine if the site has been hacked or is being tampered with.

In addition | ask that you notify the proper Authorities about the information John has
about the Murder of Molly Macauley, NASA Scientist, and possible tampering with The
White House .GOV servers.

This information is on your .GOV servers and should be preserved.

Link to the Petition/ATTN: White House/ODNI

hitps://petitions.whitehouse.gov/petition/we-people-request-full-pardon-president-donald-trump-patriot-
whistleblower-identified-johnheretohelp

Thank you Sir,

Respectfully submitted 12/14/2020 @8:09 PM CT
Lyndon Lueders

Ret. Sr. Austin Police Officer

Honorably Retired, Stilt Serving

+++

FACT
29. After the official reports, under penalty of law, the numbers on the petition were still

documented going backwards, and complaints were documented of not being able to sign.
FACT

30. Seven months after filing my reports, | have not been contacted as a victim, witness, or
informant, after registering my complaints willingly and under penaity of perjury.

FACT

31. On January 20, 2021, the day Mr. Biden took office, the whitehouse.gov website for “We the People”
was taken down, with no reason given and no replacement offered.

32. | bring this Bivens suit to identify the unknown federal employees, agents or

 

 
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contractors who have violated my first, fifth and fourteenth amendment rights, by either
allowing or assisting in the electronic tampering with a well- established constitutional
right to petition. Those same individuals violated my well-established rights of due

process upon reporting. Bivens vs Six Unamed Federal Agents.

33, Fraud or manipulation of a Whitehouse petition may also indicate a larger class of
plaintiffs. This class could potentially include everyone who has created, signed, or

attempted to sign a petition on the whitehouse.gov site.

34. Qualified immunity does not cover Acts of Treason, Misprision of Treason,

Conspiracy against Rights, nor Tampering with a Witness/Informant.

VI. JURISDICTION AND VENUE

35. This Court has jurisdiction overt the subject matter of this Complaint under
(18 US Code 2382 notification) concerning the report of Treason, or Conspiracy, to a

Federal Judge/Judges.

36. This Court has jurisdiction over the subject matter of this Complaint under the First,

Fifth, and Fourteenth Amendments of the United States Constitution and 28 U.S.C. 1331.

37. Venue is properly with this District under 28 U.S.C. 1402(b).

VIE. RELIEF

A. Compensatory damages as to all defendants of not less than 25 million dollars;
B. Punative damages as to all defendants;

C. An injunction to immediately restore the 'We the People’ Petition site to the
www.Whitehouse.gov domain, with all past petitions restored, and those that were in

progress allowed to continue.

 

 

 
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“Learn to do right; seek justice. Defend the oppressed. Take up the cause of the

fatherless; plead the case of the widow.” Isaiah 1:17

Lywoon) Loe DEES
YoBox 382

Sraboille TX 78957
